       Case 5:08-cv-02363-JW           Document 20        Filed 06/09/2008       Page 1 of 1



 1
                                       UNITED STATES DISTRICT COURT
 2
                                     NORTHERN DISTRICT OF CALIFORNIA
 3
 4
      Oracle Corporation et al.,                               No. C 08-2363 BZ
 5
 6            Plaintiff(s).
 7            v.                                              NOTICE OF IMPENDING
                                                              REASSIGNMENT TO A UNITED
 8
                                                              STATES DISTRICT COURT JUDGE
 9 Alcatel Lucent et al. ,
10
                     Defendant(s).
11
     ___________________________________/
12
13           The Clerk of this Court will now randomly reassign this case to a United States District Judge

14 because either:
15            (1)     One or more of the parties has requested reassignment to a United States District

16 Judge or has not consented to the jurisdiction of a United States Magistrate Judge, or,
17            (2)     One or more of the parties has sought a kind of judicial action (e.g., a temporary
18 restraining order) that a United States Magistrate Judge may not take without the consent of all
19 parties, the necessary consents have not been secured, and time is of the essence.
20
              The Case Management Conference set for August 18, 2008 at 4:00 p.m. is hereby
21
     VACATED.
22
23
     Dated: 6/9/08
24                                                            Richard W. Wieking, Clerk
25                                                            United States District Court

26
                                                              By: Simone Voltz - Deputy Clerk to
27
                                                              Magistrate Judge Bernard Zimmerman
28



      reassign.DCT
